
PER CURIAM.
Affirmed. See Gagman v. State, 584 So.2d 632 (Fla. 1st DCA 1991). We agree with Gagman and thus certify to the Florida Supreme Court the following question of great public importance:
WHETHER THE DOUBLE JEOPARDY CLAUSES OF THE UNITED STATES AND FLORIDA CONSTITUTIONS WERE VIOLATED BY THE TRIAL COURT’S RECLASSIFYING APPELLANT’S OFFENSE AS FELONY PETIT THEFT, THEN USING THAT FELONY CLASSIFICATION TO ENHANCE APPELLANT’S SENTENCE PURSUANT *1113TO THE HABITUAL VIOLENT FELONY OFFENDER STATUTE.
CAMPBELL, A.C.J., and LEHAN and HALL, JJ., concur.
